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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

MAAZ QURESHI, individually and on      )
behalf of others similarly situated,   )
                                       )
                  Plaintiff,           )
                                       )
v.                                     )       Case No. 1:20cv-01141-CRC
                                       )
AMERICAN UNIVERSITY,                   )
                                       )
                     Defendant.        )
                                       )

MATTHEW RABINOWITZ,                    )
individually and on behalf of others   )
similarly situated,                    )
                                       )
                  Plaintiff,           )       Case No. 1:20-cv-01454-CRC
                                       )
v.                                     )
                                       )
AMERICAN UNIVERSITY,                   )
                                       )
                     Defendant.        )

DANISH ARIF, individually and on       )
behalf of others similarly situated,   )       Case No. 1:20-cv-01555-CRC
                                       )
                  Plaintiff,           )
                                       )
v.                                     )
                                       )
AMERICAN UNIVERSITY,                   )
                                       )
                     Defendant.        )
                                       )




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                                   NOTICE OF APPEAL

       Notice is hereby given that Maaz Qureshi, Matthew Rabinowitz and Danish Arif, Plaintiffs

in the above named case, hereby appeal to the United States Court of Appeals for District of

Columbia from: (1) the Order entered in this action on May 7, 2021 (ECF No. 41) granting

Defendant’s Motion to Dismiss and (2) the Memorandum Opinion entered in this action on May

7, 2021 (ECF No. 42) regarding the Order granting Defendant’s Motion to Dismiss.




Dated: June 4, 2021                 Respectfully submitted,


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                                CERTIFICATE OF SERVICE

        By my signature below, I hereby certify that I electronically filed the foregoing with the
Clerk of the Court using the court’s Electronic Case Filing System which will send notification to
all counsel of record.


                                             /s/ Curtis A. Boykin
                                             Cutis A. Boykin




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